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 11   RON BENDER (SBN 143364)
      MONICA Y. KIM (SBN 180139)
 22   KRIKOR J. MESHEFEJIAN (SBN 255030)
 33   LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
      10250 Constellation Boulevard, Suite 1700
 44   Los Angeles, California 90067
      Telephone: (310) 229-1234; Facsimile: (310) 229-1244
 55   Email: rb@lnbyb.com; myk@lnbyb.com; kjm@lnbyb.com
      Attorneys for former Chapter 11 Debtors and Debtors in Possession
 66

 77   SAMUEL R. MAIZEL (SBN 189301)
      TANIA M. MOYRON (SBN 235736)
 88   DENTONS US LLP
      601 South Figueroa Street, Suite 2500
 99   Los Angeles, California 90017-5704
      Telephone: (213) 623-9300; Facsimile: (213) 623-9924
10
10
      Email: samuel.maizel@dentons.com; tania.moyron@dentons.com
11
11    Attorneys for Matthew Pliskin, the Trustee of the Trust

12
12                                  UNITED STATES BANKRUPTCY COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
13
13                                    SAN FERNANDO VALLEY DIVISION

14
14    In re:                                                       Lead Case No.: 1:17-bk-12408-MB
                                                                   Jointly administered with:
15
15    ICPW Liquidation Corporation, a California                   1:17-bk-12409-MB
      corporation1,
16
16                                                                 Chapter 11 Cases
               Debtor and Debtor in Possession.
17
17    ____________________________________                         JOINT MOTION BY ESCROW AGENT
      In re:                                                       AND THE TRUSTEE OF THE TRUST
18
18                                                                 FOR APPROVAL OF STIPULATION
      ICPW Liquidation Corporation, a Nevada                       APPROVING TRANSFER OF ESCROW
19
19    corporation2,                                                FUNDS

20
20             Debtor and Debtor in Possession.                    [No Hearing Required]
      ____________________________________
21
21
            Affects both Debtors
22
22
        Affects ICPW Liquidation Corporation, a
23
23    California corporation only

24
24      Affects ICPW Liquidation Corporation, a
      Nevada corporation only
25
25
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26
27
27
      1
          Formerly known as Ironclad Performance Wear Corporation, a California corporation.
28
28    2
          Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.


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 11          Levene, Neale, Bender, Yoo & Brill L.L.P. (“Escrow Agent”), which is serving as the
 22   escrow agent pursuant to the Debtors and Official Committee of Equity Security Holders Joint
 33
      Plan of Liquidation Dated February 9, 2018         (the “Plan”), as Docket No. 438, that was
 44
      confirmed by the Bankruptcy Court in the above-referenced chapter 11 bankruptcy cases
 55
      pursuant to an order entered on February 13, 2018 (the “Confirmation Order”), as Docket No.
 66

 77   442, and Mathew Pliskin (the “Trustee”), who is serving as the Trustee of the Trust that was

 88   created in connection with the confirmed Plan, hereby file this Joint Motion requesting the Court

 99   to approve the Stipulation, a copy of which is attached hereto as Exhibit “1” (the “Stipulation”),
10
10
      that has been entered into between the Escrow Agent and the Trustee and acknowledged by
11
11
      Kurtzman Carson Consultants, LLC (“KCC”) as follows:
12
12
             A.      Consistent with the Confirmation Order, the “Effective Date” of the Plan was
13
13
14    February 28, 2018. The Plan provides that the Trustee may select someone other than the Escrow
14
15
15    Agent to serve as the disbursing agent for Disputed Class 1 Claims. Docket No. 438, at 36. The

16
16    Plan also reserved the right for the members of the Official Committee of Equity Holders
17
17    (“OCEH”) to change the identity of the Escrow agent at any time. Docket No. 438, at 48. The
18
18
      Plan further permitted the Trustee to change the identity of the Escrow Agent after payment of
19
19
      Allowed Claims. Docket No. 438, at 53. The three members of the OECH have been appointed
20
20
      as the initial members of the Trust Board (collectively, the “Trust Board Members”), and the
21
21
22
22    Trustee represents that the Trust Board Members have unanimously requested and consented to

23
23    all of the provisions of the Stipulation.

24
24           B.      In accordance with the Plan, the Trustee is in the process of (i) pursuing causes of
25
25    action and/or objections to, among others, the claims of Radians Wareham Holding, Inc.
26
26
      (“Radians”) and the claims of Jeffrey Cordes and William Aisenberg (“Cordes/Aisenberg”), and
27
27
      (ii) preparing to make an initial distribution to the shareholders of IPCW Liquidation
28
28

                                                   2
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 11   Corporation, a Nevada corporation, as contemplated under the Plan and the various proceedings
 22   and Court rulings which have occurred subsequent to the Effective Date (the “Initial Shareholder
 33
      Distribution”).
 44
             C.         Pursuant to an order entered as Docket Number 555, the Trustee is required to
 55
      escrow the total sum of $2.3 million (the “Radians Reserve Fund”) for the benefit of Radians,
 66

 77   and the Trustee is required to retain the Radians Reserve Fund in a segregated interest bearing

 88   trust account until further order by the Court.

 99          D.         Pursuant to an order approving a stipulation entered into between the Trustee and
10
10
      Cordes/Aisenberg, entered as Docket No. 553, the Trustee is required to reserve $546,313.50 for
11
11
      the benefit of Cordes/Aisenberg (the “Cordes/Aisenberg Reserve Fund”).
12
12
             E.         As of April 26, 2018, the Escrow Agent is holding the total sum of approximately
13
13
14    $13,820,930.53 in a segregated trust account (the “Trust Account”) at First Republic Bank (the
14
15
15    “Remaining Estate Funds”). Under the Plan, “the Remaining Estate Funds will continue to be

16
16    maintained in the Trust Account by the Escrow Agent, pending further order of the Court.” Plan,
17
17    at 20, Docket No. 438. The Plan also provides that the Trustee will retain an initial reserve of
18
18
      $2,500,000 to fund the Trust and the prosecution of transferred estate claims and causes of action
19
19
      (the “Trust Reserve”). Plan, at 49, Docket No. 438.
20
20
             F.         By way of the Stipulation, the Trustee and the Escrow Agent are seeking the entry
21
21
22
22    of an order of this Court authorizing the Escrow Agent to transfer to the Trustee all of the

23
23    Remaining Estate Funds less the total amount of final professional fees and expenses that are

24
24    allowed by the Court at the final fee hearing scheduled to be held on May 1, 2018 (the “Final
25
25    Allowed Professional Fees and Expenses”).
26
26
             G.         By way of the Stipulation, the Escrow Agent and the Trustee seek an order of this
27
27
      Court that, among other things, authorizes the Escrow Agent to transfer to the Trustee all of the
28
28

                                                    3
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 11   Remaining Estate Funds remaining after the Escrow Agent has paid all of the Final Allowed
 22   Professional Fees and Expenses (the “Net Estate Funds”).
 33
             H.      At the request of the Trustee, KCC and the Trustee have agreed that KCC will
 44
      establish collateralized accounts (the “Post-Confirmation Accounts”) for the Net Estate Funds in
 55
      accordance with the requirements of the United States Trustee and 11 U.S.C. § 345(b), and serve
 66

 77   as the Trustee’s disbursing agent. The Trustee also anticipates that KCC shall assist the Trustee

 88   with 1099 tax reporting requirements and other services that may be required in connection with

 99   distributions under the Plan. The Escrow Agent is not a party to any such agreements with KCC.
10
10
      Those agreements are solely between the Trustee and KCC.
11
11
             I.      By way of the Stipulation, the Trustee agrees to establish collateralized accounts
12
12
      with the Net Estate Funds for the (i) the Radians Reserve Fund, (ii) the Cordes/Aisenberg
13
13
14    Reserve Fund, (iii) the Initial Shareholder Distribution, and (iv) the Trust Reserve, and to make
14
15
15    all distributions required to be made under the Plan other than the payment of the Final Allowed

16
16    Professional Fees and Expenses, which, as indicated above, will be paid by the Escrow Agent out
17
17    of the Remaining Estate Funds.
18
18
             J.      The Escrow Agent and the Trustee hereby jointly request the Court to enter the
19
19
      Order approving the Stipulation and granting related relief in the form attached hereto as Exhibit
20
20
      “2”.
21
21
      LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
22
22
      By: /s/ Ron Bender_____
23
23            Ron Bender
24
24    MATTHEW PLISKIN, SOLELY IN HIS CAPACITY
      AS TRUSTEE
25
25
      By: ____________________
26
26         Matthew Pliskin
27
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                                                  4
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   11   RON BENDER (SBN 143364)
        MONICA Y. KIM (SBN 180139)
   22   KRIKOR J. MESHEFEJIAN (SBN 255030)
   33   LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
        10250 Constellation Boulevard, Suite 1700
   44   Los Angeles, California 90067
        Telephone: (310) 229-1234; Facsimile: (310) 229-1244
   55   Email: rb@lnbyb.com; myk@lnbyb.com; kjm@lnbyb.com
        Attorneys for former Chapter 11 Debtors and Debtors in Possession
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   77   SAMUEL R. MAIZEL (SBN 189301)
        TANIA M. MOYRON (SBN 235736)
   88   DENTONS US LLP
        601 South Figueroa Street, Suite 2500
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        Email: samuel.maizel@dentons.com; tania.moyron@dentons.com
 11
 11     Attorneys for Matthew Pliskin, the Trustee of the Trust

 12
 12                                   UNITED STATES BANKRUPTCY COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
 13
 13                                     SAN FERNANDO VALLEY DIVISION

 14
 14     In re:                                                       Lead Case No.: 1:17-bk-12408-MB
                                                                     Jointly administered with:
 15
 15     ICPW Liquidation Corporation, a California                   1:17-bk-12409-MB
        corporation1,
 16
 16                                                                  Chapter 11 Cases
                 Debtor and Debtor in Possession.
 17
 17     ____________________________________                         STIPULATION APPROVING
        In re:                                                       TRANSFER OF ESCROW FUNDS
 18
 18
        ICPW Liquidation Corporation, a Nevada                       [No Hearing Required]
 19
 19     corporation2,

 20
 20              Debtor and Debtor in Possession.
        ____________________________________
 21
 21
              Affects both Debtors
 22
 22
          Affects ICPW Liquidation Corporation, a
 23
 23     California corporation only

 24
 24       Affects ICPW Liquidation Corporation, a
        Nevada corporation only
 25
 25
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            Formerly known as Ironclad Performance Wear Corporation, a California corporation.
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            Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.


                                                             1
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 1
 1           This Stipulation is hereby entered into by and between (i) Levene, Neale, Bender, Yoo &
 2
 2   Brill L.L.P. (“Escrow Agent”), which is serving as the escrow agent pursuant to the Debtors and
 3
 3
     Official Committee of Equity Security Holders Joint Plan of Liquidation Dated February 9, 2018
 4
 4
     (the “Plan”), as Docket No. 438, that was confirmed by the Bankruptcy Court in the above-
 5
 5
     referenced chapter 11 bankruptcy cases pursuant to an order entered on February 13, 2018 (the
 6
 6
 7
 7   “Confirmation Order”), as Docket No. 442, and (ii) Mathew Pliskin (the “Trustee”), who is

 8
 8   serving as the Trustee of the Trust that was created in connection with the confirmed Plan, and
 9
 9   acknowledged by Kurtzman Carson Consultants, LLC (“KCC”), with reference to the following:
10
10
                                                  RECITALS
11
11
             A.      Consistent with the Confirmation Order, the “Effective Date” of the Plan was
12
12
     February 28, 2018. The Plan provides that the Trustee may select someone other than the Escrow
13
13
14   Agent to serve as the disbursing agent for Disputed Class 1 Claims. Docket No. 438, at 36. The
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15   Plan also reserved the right for the members of the Official Committee of Equity Holders

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16   (“OCEH”) to change the identity of the Escrow agent at any time. Docket No. 438, at 48. The
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17   Plan further permitted the Trustee to change the identity of the Escrow Agent after payment of
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     Allowed Claims. Docket No. 438, at 53. The three members of the OECH have been appointed
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     as the initial members of the Trust Board (collectively, the “Trust Board Members”), and the
20
20
     Trustee represents that the Trust Board Members have unanimously requested and consented to
21
21
22
22   all of the provisions of this Stipulation.

23
23           B.      In accordance with the Plan, the Trustee is in the process of (i) pursuing causes of

24
24   action and/or objections to, among others, the claims of Radians Wareham Holding, Inc.
25
25   (“Radians”) and the claims of Jeffrey Cordes and William Aisenberg (“Cordes/Aisenberg”), and
26
26
     (ii) preparing to make an initial distribution to the shareholders of IPCW Liquidation
27
27
     Corporation, a Nevada corporation, as contemplated under the Plan and the various proceedings
28
28

                                                   2
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 1   and Court rulings which have occurred subsequent to the Effective Date (the “Initial Shareholder
 2
 2   Distribution”).
 3
 3
            C.         Pursuant to an order entered as Docket Number 555, the Trustee is required to
 4
 4
     escrow the total sum of $2.3 million (the “Radians Reserve Fund”) for the benefit of Radians,
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 5
     and the Trustee is required to retain the Radians Reserve Fund in a segregated interest bearing
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 7   trust account until further order by the Court.

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 8          D.         Pursuant to an order approving a stipulation entered into between the Trustee and
 9
 9   Cordes/Aisenberg, entered as Docket No. 553, the Trustee is required to reserve $546,313.50 for
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     the benefit of Cordes/Aisenberg (the “Cordes/Aisenberg Reserve Fund”).
11
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            E.         As of April 26, 2018, the Escrow Agent is holding the total sum of approximately
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     $13,820,930.53 in a segregated trust account (the “Trust Account”) at First Republic Bank (the
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13
14   “Remaining Estate Funds”). Under the Plan, “the Remaining Estate Funds will continue to be
14
15
15   maintained in the Trust Account by the Escrow Agent, pending further order of the Court.” Plan,

16
16   at 20, Docket No. 438. The Plan also provides that the Trustee will retain an initial reserve of
17
17   $2,500,000 to fund the Trust and the prosecution of transferred estate claims and causes of action
18
18
     (the “Trust Reserve”). Plan, at 49, Docket No. 438.
19
19
            F.         By way of this Stipulation, the Trustee and the Escrow Agent are seeking the
20
20
     entry of an order of this Court authorizing the Escrow Agent to transfer to the Trustee all of the
21
21
22
22   Remaining Estate Funds less the total amount of final professional fees and expenses that are

23
23   allowed by the Court at the final fee hearing scheduled to be held on May 1, 2018 (the “Final

24
24   Allowed Professional Fees and Expenses”).
25
25          G.         By way of this Stipulation, the Escrow Agent and the Trustee seek an order of this
26
26
     Court that, among other things, authorizes the Escrow Agent to transfer to the Trustee all of the
27
27
28
28

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 11   Remaining Estate Funds remaining after the Escrow Agent has paid all of the Final Allowed
 22   Professional Fees and Expenses (the “Net Estate Funds”).
 33
             H.     At the request of the Trustee, KCC and the Trustee have agreed that KCC will
 44
      establish collateralized accounts (the “Post-Confirmation Accounts”) for the Net Estate Funds in
 55
      accordance with the requirements of the United States Trustee and 11 U.S.C. § 345(b), and serve
 66
 77   as the Trustee’s disbursing agent. The Trustee also anticipates that KCC shall assist the Trustee

 88   with 1099 tax reporting requirements and other services that may be required in connection with

 99   distributions under the Plan. The Escrow Agent is not a party to any such agreements with KCC.
10
10
      Those agreements are solely between the Trustee and KCC.
11
11
             I.     By way of this Stipulation, the Trustee agrees to establish collateralized accounts
12
12
      with the Net Estate Funds for the (i) the Radians Reserve Fund, (ii) theCordes/Aisenberg
13
13
14    Reserve Fund, (iii) the Initial Shareholder Distribution, and (iv) the Trust Reserve, and to make
14
15
15    all distributions required to be made under the Plan other than the payment of the Final Allowed

16
16    Professional Fees and Expenses, which, as indicated above, will be paid by the Escrow Agent out
17
17    of the Remaining Estate Funds.
18
18
                                              AGREEMENT
19
19
             1.     Subject to entry of an order by the Court approving this Stipulation, the Escrow
20
20
      Agent and the Trustee hereby agree to the Escrow Agent’s transfer of all of the Net Estate Funds
21
21
22
22    to the Trustee. The only remaining payments that the Escrow Agent shall make from the

23
23    Remaining Estate Funds shall be the payment of the Final Allowed Professional Fees and

24
24    Expenses. Once the Escrow Agent has paid all of the Final Allowed Professional Fees and
25
25    Expenses out of the Remaining Estate Funds and transferred all of the Net Estate Funds to the
26
26
      Trustee, the Escrow Agent will no longer be in possession of any of the Remaining Estate Funds.
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27
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28

                                                  4
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 11            2.      The Escrow Agent will transfer the Net Estate Funds to the Trustee in the manner
 22   directed by the Trustee to the Escrow Agent in writing (with an email instruction being
 33
      sufficient) following the entry of an order of the Court approving this Stipulation and authorizing
 44
      such transfer.
 55
               3.      In accordance with the requirements of the United States Trustee and Section
 66
 77   345(b) of the Bankruptcy Code, the Trustee will establish collateralized accounts with the Net

 88   Estate Funds for the (i) the Radians Reserve Fund, (ii) the Cordes/Aisenberg Reserve Fund, (iii)

 99   the Initial Shareholder Distribution, (iv) the Trust Reserve, (v) the balance of the Net Estate
10
10
      Funds, and (vi) any other account the Trustee deems necessary in accordance with the Plan, and
11
11
      may utilize KCC’s services as disbursement agent.
12
12
               4.      Other than the payment of the Final Allowed Professional Fees and Expenses,
13
13
14    which shall be made by the Escrow Agent out of the Remaining Estate Funds, the Trustee shall
14
15
15    be solely responsible for making all other payments and distributions of the Net Estate Funds

16
16    provided for by the Plan, and the Escrow Agent shall be resolved of any liability or responsibility
17
17    with regard to the deposit, collateralization, maintenance and/or distribution of the Net Estate
18
18
      Funds.
19
19
      Agreed:
20
20
      LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
21
21
      By: /s/ Ron Bender_____
22
22            Ron Bender
23
23    Agreed:
24
24    MATTHEW PLISKIN, SOLELY IN HIS CAPACITY
      AS TRUSTEE
25
25
26
26    By: ____________________
           Matthew Pliskin
27
27
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28

                                                   5
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                                    PROOF OF SERVICE OF DOCUMENT
  1
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  2   address is 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067

  3   A true and correct copy of the foregoing document entitled STIPULATION APPROVING TRANSFER OF
      ESCROW FUNDS will be served or was served (a) on the judge in chambers in the form and manner
  4   required by LBR 5005-2(d); and (b) in the manner stated below:

  5   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  6   hyperlink to the document. On April 30, 2018, I checked the CM/ECF docket for this bankruptcy case or
      adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
  7   receive NEF transmission at the email addresses stated below:

  8         Shiva D Beck sbeck@gardere.com, jcharrison@gardere.com
            Ron Bender rb@lnbyb.com
  9         Cathrine M Castaldi ccastaldi@brownrudnick.com
            Russell Clementson russell.clementson@usdoj.gov
 10         Aaron S Craig acraig@kslaw.com, lperry@kslaw.com
            Matthew A Gold courts@argopartners.net
 11         Monica Y Kim myk@lnbrb.com, myk@ecf.inforuptcy.com
            Jeffrey A Krieger jkrieger@ggfirm.com,
 12         kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenbergglusker.com
            Samuel R Maizel samuel.maizel@dentons.com,
 13         alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com;tania.moyron@dentons.com;kath
            ryn.howard@dentons.com
 14         Krikor J Meshefejian kjm@lnbrb.com
            Tania M Moyron tania.moyron@dentons.com, chris.omeara@dentons.com
 15         S Margaux Ross margaux.ross@usdoj.gov
            Susan K Seflin sseflin@brutzkusgubner.com
 16         John M Stern john.stern@oag.texas.gov, bk-mbecker@oag.texas.gov
            United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
 17         Sharon Z. Weiss sharon.weiss@bryancave.com,
            raul.morales@bryancave.com;geri.anderson@bryancave.com
 18         Douglas Wolfe dwolfe@asmcapital.com

 19
      2. SERVED BY UNITED STATES MAIL: On April 30, 2018, I served the following persons and/or
 20   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
      and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
 21   addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
      completed no later than 24 hours after the document is filed.
 22
                                                                              Service information continued on attached page
 23   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
      EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
 24   on April 30, 2018, I served the following persons and/or entities by personal delivery, overnight mail
      service, or (for those who consented in writing to such service method), by facsimile transmission and/or
 25   email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
      mail to, the judge will be completed no later than 24 hours after the document is filed.
 26
 27
 28

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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      Served via Attorney Service
  1   Hon. Martin R. Barash
      United States Bankruptcy Court
  2   21041 Burbank Boulevard, Suite 342
      Woodland Hills, CA 91367
  3
      I declare under penalty of perjury under the laws of the United States of America that the foregoing is
  4   true and correct.

  5    April 30, 2018                        Lourdes Cruz                                /s/ Lourdes Cruz
       Date                                  Type Name                                   Signature
  6
  7
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  9
 10
 11
 12
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       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
Case 1:17-bk-12408-MB   Doc 561 Filed 04/30/18 Entered 04/30/18 17:00:23   Desc
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 11   RON BENDER (SBN 143364)
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11
11    Attorneys for Matthew Pliskin, the Trustee of the Trust

12
12                                UNITED STATES BANKRUPTCY COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
13
13                                  SAN FERNANDO VALLEY DIVISION

14
14    In re:                                                  Lead Case No.: 1:17-bk-12408-MB
                                                              Jointly administered with:
15
15    ICPW Liquidation Corporation, a California              1:17-bk-12409-MB
      corporation1,
16
16                                                            Chapter 11 Cases
               Debtor and Debtor in Possession.
17
17    ____________________________________                    ORDER GRANTING STIPULATION
      In re:                                                  APPROVING TRANSFER OF ESCROW
18
18                                                            FUNDS
      ICPW Liquidation Corporation, a Nevada
19
19    corporation2,                                           [No Hearing Required]

20
20             Debtor and Debtor in Possession.
      ____________________________________
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21
           Affects both Debtors
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22
        Affects ICPW Liquidation Corporation, a
23
23    California corporation only

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24      Affects ICPW Liquidation Corporation, a
      Nevada corporation only
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      1
          Formerly known as Ironclad Performance Wear Corporation, a California corporation.
28
28    2
          Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.


                                                      1
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 11          The Court, having reviewed the Stipulation filed as Docket Number 560 (the
 22   “Stipulation”) entered into by and between (i) Levene, Neale, Bender, Yoo & Brill L.L.P.
 33
      (“Escrow Agent”), which is serving as the escrow agent pursuant to the Debtors and Official
 44
      Committee of Equity Security Holders Joint Plan of Liquidation Dated February 9, 2018 (the
 55
      “Plan”), as Docket No. 438, that was confirmed by the Bankruptcy Court in the above-referenced
 66

 77   chapter 11 bankruptcy cases pursuant to an order entered on February 13, 2018 (the

 88   “Confirmation Order”), as Docket No. 442, and (ii) Mathew Pliskin (the “Trustee”), who is

 99   serving as the Trustee of the Trust that was created in connection with the confirmed Plan, and
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10
      acknowledged by Kurtzman Carson Consultants, LLC (“KCC”), and good cause appearing,
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11
             HEREBY ORDERS AS FOLLOWS:3
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             1.      The Stipulation is approved.
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14           2.      The only remaining payments that the Escrow Agent shall make from the
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15
15    Remaining Estate Funds shall be the payment of the Final Allowed Professional Fees and

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16    Expenses. Once the Escrow Agent has paid all of the Final Allowed Professional Fees and
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17    Expenses out of the Remaining Estate Funds and transferred all of the Net Estate Funds to the
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18
      Trustee, the Escrow Agent will no longer be in possession of any of the Remaining Estate Funds.
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             3.      The Escrow Agent will transfer the Net Estate Funds to the Trustee in the manner
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      directed by the Trustee to the Escrow Agent in writing (with an email instruction being
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21
22
22    sufficient) following the entry of this Order bf the Court and the Escrow Agent’s payment of the

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23    Final Allowed Professional Fees and Expenses.

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24           4.      In accordance with the requirements of the United States Trustee and Section
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25    345(b) of the Bankruptcy Code, the Trustee will establish collateralized accounts with the Net
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27    3
       All capitalized terms used herein which are not defined herein but which are defined in the Stipulation
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28    shall be deemed to have the same definitions as used in the Stipulation.


                                                     2
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 11   Estate Funds for the (i) the Radians Reserve Fund, (ii) the Cordes/Aisenberg Reserve Fund, (iii)
 22   the Initial Shareholder Distribution, (iv) the Trust Reserve, (v) the balance of the Net Estate
 33
      Funds, and (vi) any other account the Trustee deems necessary in accordance with the Plan, and
 44
      may utilize KCC’s services as disbursement agent.
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               5.    Other than the payment of the Final Allowed Professional Fees and Expenses,
 66

 77   which shall be made by the Escrow Agent out of the Remaining Estate Funds, the Trustee shall

 88   be solely responsible for making all other payments and distributions of the Net Estate Funds

 99   provided for by the Plan, and the Escrow Agent shall be resolved of any liability or responsibility
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10
      with regard to the deposit, collateralization, maintenance and/or distribution of the Net Estate
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11
      Funds.
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                                    PROOF OF SERVICE OF DOCUMENT
  1
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  2   address is 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067

  3   A true and correct copy of the foregoing document entitled JOINT MOTION BY ESCROW AGENT AND
      THE TRUSTEE OF THE TRUST FOR APPROVAL OF STIPULATION APPROVING TRANSFER OF
  4   ESCROW FUNDS will be served or was served (a) on the judge in chambers in the form and manner
      required by LBR 5005-2(d); and (b) in the manner stated below:
  5
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
  6   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On April 30, 2018, I checked the CM/ECF docket for this bankruptcy case or
  7   adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
      receive NEF transmission at the email addresses stated below:
  8
            Shiva D Beck sbeck@gardere.com, jcharrison@gardere.com
  9         Ron Bender rb@lnbyb.com
            Cathrine M Castaldi ccastaldi@brownrudnick.com
 10         Russell Clementson russell.clementson@usdoj.gov
            Aaron S Craig acraig@kslaw.com, lperry@kslaw.com
 11         Matthew A Gold courts@argopartners.net
            Monica Y Kim myk@lnbrb.com, myk@ecf.inforuptcy.com
 12         Jeffrey A Krieger jkrieger@ggfirm.com,
            kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenbergglusker.com
 13         Samuel R Maizel samuel.maizel@dentons.com,
            alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com;tania.moyron@dentons.com;kath
 14         ryn.howard@dentons.com
            Krikor J Meshefejian kjm@lnbrb.com
 15         Tania M Moyron tania.moyron@dentons.com, chris.omeara@dentons.com
            S Margaux Ross margaux.ross@usdoj.gov
 16         Susan K Seflin sseflin@brutzkusgubner.com
            John M Stern john.stern@oag.texas.gov, bk-mbecker@oag.texas.gov
 17         United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
            Sharon Z. Weiss sharon.weiss@bryancave.com,
 18         raul.morales@bryancave.com;geri.anderson@bryancave.com
            Douglas Wolfe dwolfe@asmcapital.com
 19
 20   2. SERVED BY UNITED STATES MAIL: On April 30, 2018, I served the following persons and/or
      entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
 21   and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
      addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
      completed no later than 24 hours after the document is filed.
 22
                                                                              Service information continued on attached page
 23
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
 24   EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
      on April 30, 2018, I served the following persons and/or entities by personal delivery, overnight mail
 25   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
      email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
 26   mail to, the judge will be completed no later than 24 hours after the document is filed.

 27
 28

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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      Served via Attorney Service
  1   Hon. Martin R. Barash
      United States Bankruptcy Court
  2   21041 Burbank Boulevard, Suite 342
      Woodland Hills, CA 91367
  3
      I declare under penalty of perjury under the laws of the United States of America that the foregoing is
  4   true and correct.

  5    April 30, 2018                        Lourdes Cruz                                /s/ Lourdes Cruz
       Date                                  Type Name                                   Signature
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       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
